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                  UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS



PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

                      Plaintiff,             Case No. 1:25-cv-11048

                v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

                      Defendants.




BRIEF OF AMICI CURIAE AMERICAN CIVIL LIBERTIES UNION, AMERICAN
     CIVIL LIBERTIES UNION OF MASSACHUSETTS, CATO INSTITUTE,
  ELECTRONIC FRONTIER FOUNDATION, KNIGHT FIRST AMENDMENT
 INSTITUTE, NATIONAL COALITION AGAINST CENSORSHIP, REPORTERS
COMMITTEE FOR FREEDOM OF THE PRESS, AND RUTHERFORD INSTITUTE
    IN SUPPORT OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

                       (Leave to file granted on June 6, 2025)
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                               INTERESTS OF AMICI CURIAE 1

       The American Civil Liberties Union (“ACLU”) is a nationwide, nonprofit organization that

since 1920 has sought to protect the civil liberties of all Americans. The ACLU of Massachusetts

(“ACLUM”) is a state affiliate of the ACLU. The ACLU and ACLU of Massachusetts have

frequently appeared as both counsel and amici in cases about the Constitution’s limits on

government power, including consequential First Amendment cases about retaliation, government

funding conditions, and academic freedom. See, e.g., Nat'l Rifle Ass’n of Am. v. Vullo, 602 U.S.

175 (2024) (ACLU as counsel); Doe v. Hopkinton Pub. Sch., 19 F.4th 493 (1st Cir. 2021) (ACLUM

as amicus); Rust v. Sullivan, 500 U.S. 173 (1991) (ACLU as counsel).

       The Cato Institute is a nonpartisan public policy research foundation founded in 1977 and

dedicated to advancing the principles of individual liberty, free markets, and limited government.

       The Electronic Frontier Foundation (“EFF”) is a nonprofit organization that has defended

the rights of technology users in U.S. courts, and through advocacy, education and technology

development for almost 35 years. EFF’s work is in furtherance of human rights, the rule of law,

and the preservation of democratic institutions throughout the world, and has pursued numerous

lawsuits challenging the government’s ability to penalize disfavored speakers.

       The Knight First Amendment Institute at Columbia University is a non-partisan, not-for-

profit organization that works to defend the freedoms of speech and the press in the digital age

through strategic litigation, research, and public education. The Institute’s aim is to promote a

system of free expression that is open and inclusive, that broadens and elevates public discourse,

and that fosters creativity, accountability, and effective self-government.


1
 Counsel for amici curiae certify that no counsel for a party authored this brief in whole or in part,
and no person other than amici curiae, their members, or their counsel made a monetary
contribution to the brief’s preparation or submission.


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        The National Coalition Against Censorship (“NCAC”) is an alliance of more than 60

national non-profit literary, artistic, religious, educational, professional, labor, and civil liberties

groups joined to defend freedom of thought, inquiry, and expression. NCAC has a longstanding

interest in assuring robust free expression rights for all–including academic freedom and

independence. The positions advocated in this brief do not necessarily reflect the views of NCAC's

member organizations.

        The Reporters Committee for Freedom of the Press is an unincorporated nonprofit

association. The Reporters Committee was founded by leading journalists and media lawyers in

1970 when the nation’s news media faced an unprecedented wave of government subpoenas

forcing reporters to name confidential sources. Today, its attorneys provide pro bono legal

representation, amicus curiae support, and other legal resources to protect First Amendment

freedoms and the newsgathering rights of journalists.

        The Rutherford Institute is a nonprofit civil liberties organization. Founded in 1982 by its

President, John W. Whitehead, the Institute provides legal assistance at no charge to individuals

whose constitutional rights have been threatened or violated and educates the public about issues

affecting their freedoms.

        Amici are legal advocacy organizations from across the ideological spectrum. Though they

vary in their views on many issues, they have in common an abiding commitment to the

Constitution and the liberties it protects.

                                         INTRODUCTION

        The government cannot attempt a hostile takeover of any private institution, much less a

private college or university, in order to impose its preferred vision of ideological balance. The

First Amendment protects all private speakers and institutions from viewpoint-based

discrimination, coercion, and retaliation, and it specifically protects colleges and universities from


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infringements on their academic freedom, including the choices they make about what to teach,

how to teach it, who will teach it, and to whom.

        This case arises from the federal government’s summary decision to withhold billions of

dollars in federal research grants from the nation’s oldest private university, and its threat to

withhold all such funds in the future, because the university refused to forfeit its institutional

autonomy and conform to the government’s preferred ideological approach.

        On April 11, 2025, the government threatened to upend “Harvard’s financial relationship

with the federal government” if the university refused to, among other things, 1) vet all of its

students, faculty, and academic departments and fields for viewpoint diversity and, where

“ideological capture” was detected, alter its hiring, admissions, and curriculum choices to accord

with the government’s preferred ideological balance, 2) commission a third party audit of

particular programs that “reflect ideological capture,” including the Center for Middle Eastern

Studies, the Department of Near Eastern Languages and Cultures, and several centers devoted to

human rights, and 3) install governance structures and leaders devoted to acceding to these

demands. Am. Compl. Ex. A at 1–2, 4, ECF No. 59-1. 2 After Harvard rejected these demands,



2
 These demands were motivated, at least in part, by the administration’s concerns about Harvard’s
“ideological capture” and insufficient “viewpoint diversity.” Am. Compl. Ex. A at 2–3; Am.
Compl. Ex. P, ECF No. 59-16. The administration has also asserted that Harvard has fostered, and
failed to deal with, harassment of and discrimination against Jewish and Israeli members of its
community. Universities are bound by civil rights laws that guarantee all students equal access to
education, including Title VI of the Civil Rights Act. This means that schools can, and indeed
must, protect students from discriminatory harassment on the basis of race or national origin.
However, as detailed in Plaintiff’s Amended Complaint, ECF No. 59, and Memorandum in
Support of Motion for Summary Judgment, ECF No. 70 at 32–38, these obligations can—and
indeed must—be satisfied and enforced according to the procedures and requirements set forth in
Title VI, which has not occurred here, and consistent with the First Amendment. The government
is “free to . . . pursue . . . violations of . . . law,” but it cannot “wield [its] power . . . to threaten
enforcement actions . . . in order to punish or suppress” speech. Nat'l Rifle Ass’n of Am. v. Vullo,
602 U.S. 175, 180 (2024).


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making clear that “[t]he university will not surrender its independence or relinquish its

constitutional rights,” Am. Compl. Ex. B at 3, ECF No. 59-2, the administration proceeded to

cancel billions of dollars in grants, and additionally informed Harvard that it “should no longer

seek GRANTS from the federal government, since none will be provided.” Am. Compl. Ex. D at

3, ECF No. 59-4.

       The administration’s conduct is unconstitutional any way you slice it: It represents an effort

by this administration to impose “its own conception of speech nirvana” on a private institution,

Moody v. NetChoice, 603 U.S. 707, 742 (2024); it improperly seeks to leverage federal research

funds in a viewpoint-based way, to control speech outside of the scope of the program, and to

control the work of a private university—each of which is unconstitutional in its own right; and it

specifically targets a university’s protected academic freedom.

       The government cannot require Harvard, as a purportedly “strongly left-leaning”

university, to correct ideological course, Am. Compl. Ex. D at 3, ECF No. 59-4 at 3, any more

than another administration could impose its preferred viewpoint-balance on a “strongly right-

leaning” private university. It can no more demand changes to Harvard’s Middle Eastern Studies

Center than it could force the shuttering of the University of Chicago’s Economics Department.

And it cannot interfere with the autonomy of any private institution in choosing its governance

structure, leadership, and public messaging because it dislikes the institution’s ideological choices

to date. Allowing the administration’s unlawful conduct here could open the floodgates to

retaliation, coercion, and ideological bullying of private actors across sectors.

                                           ARGUMENT

I.     The Government Cannot Force an Ideological Takeover of Private Institutions.

       At the core of the First Amendment lies the principle that the government cannot impose

its preferred ideological approach on private actors or institutions. As Justice Robert Jackson wrote


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more than eighty years ago, “[i]f there is any fixed star in our constitutional constellation, it is that

no official, high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or

other matters of opinion or force citizens to confess by word or act their faith therein.” W. Virginia

State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943). This stems from “the recognition that

viewpoint discrimination is uniquely harmful to a free and democratic society.” Vullo, 602 U.S. at

187; see also Rosenberger v. Rectors & Visitors of Univ. of Virginia, 515 U.S. 819, 830 (1995)

(holding that viewpoint discrimination is presumptively unconstitutional).

        Here, the administration purports to be advancing viewpoint diversity and attempting to

correct what it perceives to be “ideological capture” at Harvard. But “the government cannot get

its way just by asserting an interest in improving, or better balancing, the marketplace of ideas.”

Moody, 603 U.S. at 732. To the contrary, “in case after case, the [Supreme] Court has barred the

government from forcing a private speaker to present views it wished to spurn in order to rejigger

the expressive realm.” Id. at 733 (citing Miami Herald Publishing Co. v. Tornillo, 418 U.S. 241

(1974), Pacific Gas & Elec. Co. v. Pub. Utils. Comm'n of Cal., 475 U.S. 1 (1986), and Hurley v.

Irish-American Gay, Lesbian and Bisexual Group of Boston, Inc., 515 U.S. 557 (1995)). The goal

of “balanc[ing] the marketplace of ideas” is one that the government simply “may not pursue . . .

consistent with the First Amendment.” Id. at 742 (cleaned up).

        Yet that is precisely what the administration seeks to do here: bully Harvard into enacting

its platonic ideal of an academic institution—one where “[e]very department or field found to lack

viewpoint diversity” is reformed by “hiring a critical mass of new faculty,” “admitting a critical

mass of students who will provide viewpoint diversity,” and empowering “those most . . .

committed to the[se ideological] changes” through the school’s leadership and governance

structure. Am. Compl. Ex. A at 4, ECF No. 59-1.



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       The administration appears to put much stock in the idea that federal grants are a privilege,

not a right, and so grantees must be sufficiently deserving, including in terms of “academic rigor”

and not succumbing to “strongly left-leaning” leaders, to receive them. See, e.g., Am. Compl. Ex.

D at 2, ECF No. 59-4. But this argument is on equally weak First Amendment footing. “The

Government may not deny a benefit to a person on a basis that infringes his constitutionally

protected … freedom of speech even if he has no entitlement to that benefit,’” including by

attempting to “regulate speech outside the contours of the federal program itself.” Agency for Int’l

Dev. v. All. for Open Soc’y Int’l, Inc., 570 U.S. 205, 206, 214–15 (2013) (cleaned up). Equally,

“ideologically driven attempts to suppress a particular point of view are presumptively

unconstitutional in funding, as in other contexts.” Rosenberger, 515 U.S. at 830. Thus, “even in

the provision of subsidies, the Government ‘may not aim at the suppression of dangerous ideas’”

or “disfavored viewpoints,” Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 587 (1998)

(quoting Regan v. Taxation with Representation of Wash., 461 U.S. 540, 550 (1983)), much less

“‘manipulate’ [a subsidy] to have a ‘coercive effect,’” id. (quoting Ark. Writers’ Project, Inc. v.

Ragland, 481 U.S. 221, 237 (1987) (Scalia, J., dissenting)). The challenged actions here violate

each of these rules: They deny a private university the benefit of federal research funding because

the university does not align with the administration’s vision of what “viewpoint diversity” and a

lack of “ideological capture” should look like on a college campus; they aim to suppress the

balance of ideas the university has chosen for itself; and they seek to regulate speech far outside

of the scope of the federal research grants that have been revoked.




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II.    The First Amendment Principle of Academic Freedom Prohibits the Government
       from Imposing Ideological Admissions, Hiring, and Programmatic Requirements on
       Colleges and Universities.

       The government’s violations are particularly egregious in light of the university’s role in a

free society. “[T]he university is a traditional sphere of free expression so fundamental to the

functioning of our society that the Government’s ability to control speech within that sphere by

means of conditions attached to the expenditure of Government funds is restricted by the

vagueness and overbreadth doctrines of the First Amendment.” Rust v. Sullivan, 500 U.S. 173, 200

(1991). In other words, even conditions that could be imposed on other grant recipients cannot be

imposed on private colleges and universities.

       And for good reason. “Our Nation is deeply committed to safeguarding academic freedom,

which is of transcendent value to all of us.” Keyishian v. Bd. of Regents of Univ. of State of N.Y.,

385 U.S. 589, 603 (1967). “The functions of educational institutions in our national life and the

conditions under which alone they can adequately perform them are at the basis of limitations upon

. . . national power.” Asociacion de Educacion Privada de Puerto Rico, Inc. v. Garcia-Padilla,

490 F.3d 1, 9 (1st Cir. 2007) (quoting Wieman v. Updegraff, 344 U.S. 183, 197 (1952)). Academic

freedom thus plays a critical role in securing individual freedom against government intrusion

because it “protect[s] universities, as academic institutions, against government control.” Id. at 8–

9. Undergirding this protection are “concern[s] regarding institutional competence in government

interference with academia.” Id. at 15, n.10 (citing Regents of the Univ. of Mich. v. Ewing, 474

U.S. 214, 226 (1985)).

       The First Amendment’s protection of academic freedom encompasses “the four essential

freedoms of a university—to determine for itself on academic grounds who may teach, what may

be taught, how it shall be taught, and who may be admitted to study.” Id. at 9–10 (quoting Sweezy




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v. New Hampshire, 354 U.S. 234, 263 (1957) (Frankfurter, J., concurring)). When it comes to these

four areas, “interfere[nce] with autonomous decisionmaking by private schools . . . intrudes upon

their freedom to pursue their academic objectives without interference from the government.” Id.

at 15. This includes government action that “may force schools to teach [in ways that are] directly

in conflict with [the schools’] particular philosophy, methodology, or mission”—government

interference that the First Circuit has deemed most “alarming.” Id. at 13.

       The First Amendment protects academic freedom because “[t]eachers and students must

always remain free to inquire, to study and to evaluate, to gain new maturity and understanding;

otherwise our civilization will stagnate and die.” Sweezy, 354 U.S. at 250 (plurality opinion).

Allowing the administration to interfere in “‘the four essential freedoms’ of a university,” id. at

263 (Frankfurter, J., concurring, joined by Harlan, J.), runs the risk of inhibiting “that free play of

the spirit which all teachers ought especially to cultivate and practice.” Shelton v. Tucker, 364 U.S.

479, 487 (1960). “The essentiality of [these] freedom[s] in the community of American universities

is almost self-evident,” Sweezy, 354 U.S. at 250 (plurality opinion), for “[i]t is the business of a

university to provide that atmosphere which is most conducive to speculation, experiment and

creation.” Asociacion de. Educacion Privada de Puerto Rico, Inc., 490 F.3d at 9–10 (quoting

Sweezy, 354 U.S. at 263 (Frankfurter, J., concurring)).

       Considering that “[n]o field of education is so thoroughly comprehended by man that new

discoveries cannot yet be made,” Sweezy, 354 U.S. at 250 (plurality opinion), students, faculty,

and educational institutions themselves “must be exemplars of open-mindedness and free inquiry.”

Wieman, 344 U.S. at 196 (Frankfurter, J., concurring). Such “freedom in the community of

American universities,” Sweezy, 354 U.S. at 250, allows students and professors to engage in “that

robust exchange of ideas which discovers truth out of a multitude of tongues, rather than through




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any kind of authoritative selection,” Keyishian, 385 U.S. at 603 (cleaned up). “To impose any strait

jacket upon the intellectual leaders in our colleges and universities would imperil the future of our

Nation.” Id. (quoting Sweezy, 354 U.S. at 250 (plurality opinion). Particularly with respect to

institutions of education, there must thus be “vigilant protection of constitutional freedoms” so as

to avoid “inhibition of freedom of thought.” Shelton, 364 U.S. at 487.

       As noted above, the administration’s assertion that it is trying to correct Harvard’s lack of

viewpoint diversity does not cure the constitutional defects here. Once the federal government is

allowed to interfere in colleges’ and universities’ internal governance, it will inevitably do so to

promote its own ideologies and suppress alternatives. That is why “the way the First Amendment

achieves th[e] goal [of an expressive realm in which the public has access to a wide range of views]

is by preventing the government from ‘tilt[ing] public debate in a preferred direction,’” Moody,

603 U.S. at 741 (emphasis in original) (quoting Sorrell v. IMS Health Inc., 564 U.S. 552, 578–579

(2011)), “not by licensing the government to stop private actors from speaking as they wish and

preferring some views over others,” id.(emphasis in original). Giving the government that power

would present a far graver threat to academic freedom than any single college or university’s

intellectual chauvinism could.

                                         CONCLUSION

       For the reasons stated above, Amici respectfully submit that the Court should grant

Plaintiff’s motion for summary judgment.




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Dated: June 9, 2025                       Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that I filed the within document via the ECF system on this day of June 9,

2025 and that it is available for viewing and downloading to all counsel of record.




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